Case 2:04-cV-02046-.]P|\/|-de Document 17 Filed 08/17/05 Page 1 of 2 Page|D 28

 

  

rN THE UNITEI) srATEs DISTRICT CoURT Fu.Eo sir _%___ D.G.
FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG | 7 AH |I= 118
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DlRECT\/, INC., a canfomia COrporaiion ) CLERK U.S. §1*?§._\,’1 COURT
) WfD GF ».~;f:_..%tPHiS
P1ainciff, )
)
v. ) No. 04-2046_1\/11\/
)
RICK sMITH, )
)
Defendant. )

AGREED ORDER OF COMPROMISE AND DISMISSAL
It appearing to the court that the parties have settled all matters in controversy existing
between them it is therefore accordingly ORDERED, ADJUDGED AND DECR_EED by the
court that:

The Complaint of the Plaintift`, DIRECTV, Inc. is hereby dismissed With prejudice as to

Defendant Rick Smith. C 0

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UNITTED §T v ATE§DI§TRICT COURT- WE§TERN DI§TRICT OF TENNE§§EE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:04-CV-02046 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

